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                                                       September 15, 2023

         Via Electronic Case Filing in Case No. 22-1721

         The Honorable Nwamaka Anowi, Clerk of Court
         U.S. Court of Appeals for the Fourth Circuit
         1100 E. Main Street, Suite 501
         Richmond, VA 23219

                  Re:       Kadel, et al v. Folwell, et al, 22-1721
                            Notice of Supplemental Authorities
                            United States v. Eknes-Tucker, __ F.4d – (11th Cir. 2023)

         Dear Ms. Anowi,

                  Appellants submit the following additional authority pursuant to

         Rule 28(j) of the Federal Rules of Appellate Procedure and Local Rule 28(e):

         Eknes-Tucker,          et      al      v.     Governor                of       Alabama,             et      al.,   — F.4th —,

         2023 WL 5344981 (11th Cir. 2023) (No. 22-11707), issued August 21, 2023.

                  Eknes-Tucker involved a statute prohibiting “providing puberty blockers

         or cross-sex hormones treatment to a minor” for gender dysphoria. Id. at *1.

         For at least three reasons, the Eleventh Circuit concluded that the statute was

         “best understood as a law that targets specific medical interventions for

         minors, not one that classifies on the basis of any suspect characteristic under

         the Equal Protection Clause.” Id. at *15.




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               First, “the statute [did] not establish an unequal regime for males and

        females.” Id. at *16. Rather than impermissibly “distinguish[ing] between

        men and women[,]” the act “establishe[d] a rule that applies equally to both

        sexes: it restricts the prescription and administration of puberty blockers and

        cross-sex hormone treatment for the purpose of treating [gender dysphoria] for

        all minors.” Id. (emphasis in original).

               Second, the Eleventh Circuit rejected Plaintiffs’ argument that the “sex-

        based terms” in the statute created a facial sex-based classification. Rather,

        “the statute refer[red] to sex only because the medical procedures it regulates

        are themselves sex-based.” Id.; see also id. at *20 (Brasher, J., concurring) (“I

        see the word sex in the law. But I don’t see a sex classification—at least, not

        as the idea of a sex classification appears in our equal protection caselaw.”).

               Third, the Eleventh Circuit emphasized Bostock’s “minimal relevance”

        because “[t] Equal Protection Clause contains none of the same text that the

        Court interpreted in Bostock” Id. at *16 (quoting Students for Fair Admissions,

        Inc. v. President an Fellows of Harvard Coll., __ U.S.__, 143 S. Ct. 2141, 2220

        (2023) (Gorsuch, J., concurring) (“That such differently worded provisions” in

        Title VII and the Equal Protection Clause “should mean the same thing is

        implausible on its face.”).
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               Eknes-Tucker is persuasive authority for Appellants’ arguments that the

        district court improperly applied intermediate scrutiny to Appellees’ equal

        protection claims. ECF No. 44 at 21–32.




                                               Sincerely,

                                               BELL, DAVIS & PITT, P.A.

                                               /s/ Mark A. Jones




        Enclosures

        CC: All Counsel of Record, via ECF.
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                                    CERTIFICATE OF SERVICE

               I hereby certify that on this day, I electronically filed the foregoing with the

        Clerk of Court using the CM/ECF system, which will send notification of such filing

        to all counsel of record.




                                                                 /s/ Mark A. Jones
                                                                 Mark A. Jones
